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                                                                                                                                          JS-3
                                                  United States District Court
                                                  Central District of California

UNITED STATES OF AMERICA vs.                                             Docket No.             CR 14-00567-BRO - 2

Defendant       Anahit Shatvoryan                                        Social Security No.    5      6       6        6
akas:   Shatvoryan, Anne; Shatvoryan, Anna                               (Last 4 digits)

                                      JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                               MONTH        DAY   YEAR
          In the presence of the attorney for the government, the defendant appeared in person on this date.       12       07    2015


COUNSEL                                                      JOHN J. STANLEY, RETAINED
                                                                        (Name of Counsel)

  PLEA          X GUILTY, and the court being satisfied that there is a factual basis for the plea.           NOLO                  NOT
                                                                                                           CONTENDERE              GUILTY
                There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
 FINDING        Conspiracy to Commit Health Care Fraud in violation of 18 U.S.C. § 1349 as charged in Count 1 of the Indictment.


JUDGMENT        The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/       contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM          that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Anahit Shatvoryan, is
  ORDER         hereby committed on Count 1 of the Indictment to the custody of the Bureau of Prisons for a term of 51 months.


               It is ordered that the defendant shall pay to the United States a special assessment of $100,
               which is due immediately. Any unpaid balance shall be due during the period of imprisonment
               at the rate of not less than $25 per quarter pursuant to the Bureau of Prisons' Inmate Financial
               Responsibility Program.

               It is ordered that the defendant shall pay restitution in the total amount of $1,668,559.00
               pursuant to 18 U.S.C. § 3663A. Defendant shall pay restitution in the total amount of
               $1,668,559.00 to victim(s) as set forth in a separate victim list prepared by the Probation
               Office which this Court adopts and which reflects the Court’s determination of the amount of
               restitution due to each victim. The victim list, which shall be forwarded by the Probation
               Officer to the fiscal section of the Clerk’s Office, shall remain confidential to protect the
               privacy interests of the victims.

               Restitution shall be due during the period of imprisonment at the rate of not less than $25 per
               quarter pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. If any
               amount of the restitution remains unpaid after the defendant’s release from custody, nominal
               monthly payments of at least 10% of the defendant's gross monthly income, but not less than
               $100, whichever is greater, shall be made during the period of supervised release and shall
               begin 30 days after the commencement of supervision. Nominal restitution payments are
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                  ordered as the Court finds that the defendant's economic circumstances do not allow for either
                  immediate or future payment of the amount ordered.

                  The defendant shall be held jointly and severally liable with any convicted co-participant,
                  including Hovik Simitian (Docket No. 2:14CR00567-1) for the amount of restitution ordered
                  in this judgment. The victim’s recovery is limited to the amount of their loss and the
                  defendant's liability for restitution ceases if and when the victims receive full restitution.

                  Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the
                  defendant does not have the ability to pay interest. Payments may be subject to penalties for
                  default and delinquency pursuant to 18 U.S.C. § 3612(g).

                  The defendant shall comply with General Order No. 01-05.

                  Pursuant to USSG §5E1.2(a), all fines are waived as the Court finds that the defendant has
                  established that she is unable to pay and is not likely to become able to pay any fine.

                  Upon release from imprisonment, the defendant shall be placed on supervised release for a
                  term of 3 years under the following terms and conditions:

                            1. The defendant shall comply with the rules and regulations of the United
                            States Probation Office, General Order 05-02, and General Order 01-05,
                            including the three special conditions delineated in General Order 01-05.

                            2. The defendant shall not commit any violation of local, state, or federal law
                            or ordinance.

                            3. During the period of community supervision, the defendant shall pay the
                            special assessment and restitution in accordance with this judgment's orders
                            pertaining to such payment.

                            4. The defendant shall cooperate in the collection of a DNA sample from the
                            defendant.

                            5. The defendant shall comply with the immigration rules and regulations of
                            the United States, and if deported from this country, either voluntarily or
                            involuntarily, not reenter the United States illegally. The defendant is not
                            required to report to the Probation Office while residing outside of the United
                            States; however, within 72 hours of release from any custody or any reentry to
                            the United States during the period of Court-ordered supervision, the defendant
                            shall report for instructions to the United States Probation Office located at:
                            United States Court House, 312 North Spring Street, Room 600, Los Angeles,
                            California 90012.
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                            6. When not employed or excused by the Probation Officer for schooling,
                            training, or other acceptable reasons, the defendant shall perform 20 hours of
                            community service per week as directed by the Probation Office.

                            7. The defendant shall not engage, as whole or partial owner, employee or
                            otherwise, in any business or medical practice involving medical billing, the
                            solicitation of medical patients, or the provision of any type of medical
                            treatment, durable medical equipment, or other type of medical care reimbursed
                            by insurance or Medicare, without the express approval of the Probation Officer
                            prior to engaging in such employment. Further, the defendant shall provide the
                            Probation Officer with access to any and all business records, client lists, and
                            other records pertaining to the operation of any business owned, in whole or in
                            part, by the defendant, as directed by the Probation Officer.

                            8. The defendant shall not be employed in any position that requires licensing
                            and/or certification by any local, state, or federal agency without the prior
                            written approval of the Probation Officer.

                            9. The defendant shall submit her person, and any property, house, residence,
                            vehicle, papers, computer, other electronic communication or data storage
                            devices or media, and effects to search at any time, with or without warrant, by
                            any law enforcement or Probation Officer with reasonable suspicion concerning
                            a violation of a condition of supervision or unlawful conduct by the defendant,
                            and by any Probation Officer in the lawful discharge of the officer's supervision
                            function.

                            10. The defendant shall apply all monies received from income tax refunds to
                            the outstanding court-ordered financial obligation. In addition, the defendant
                            shall apply all monies received from lottery winnings, inheritance, judgments
                            and any anticipated or unexpected financial gains to the outstanding court-
                            ordered financial obligation.

                  The drug testing condition mandated by statute is suspended based on the Court's
                  determination that the defendant poses a low risk of future substance abuse.

                  It is further ordered that the defendant surrender herself to the institution designated by the
                  Bureau of Prisons at or before 12 noon, February 26, 2016. In the absence of such
                  designation, the defendant shall report on or before the same date and time, to the United
                  States Marshal located at the Roybal Federal Building, 255 East Temple Street, Los Angeles,
                  California 90012.
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                   The Court recommends that the defendant be designated in a Bureau of Prison facility somewhere in
                   Southern California.

                   Defendant informed that she has waived her right to appeal.

                   On the Government's motion, all remaining counts of the underlying indictment/ information are ordered
                   dismissed.

                   Bond is exonerated upon surrender.

                  In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of
                  Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision,
                  reduce or extend the period of supervision, and at any time during the supervision period or within the maximum period
                  permitted by law, may issue a warrant and revoke supervision for a violation occurring during the supervision period.



            December 7, 2015
            Date                                                            U. S. District Judge BEVERLY REID O’CONNELL

                   It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other
                   qualified officer.

                                                                             Clerk, U.S. District Court



            December 7, 2015                                          By     Renee A. Fisher
            Filed Date                                                       Deputy Clerk



 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:
  1.   The defendant shall not commit another Federal, state or local crime;           10. the defendant shall not associate with any persons engaged in
  2.   the defendant shall not leave the judicial district without the written             criminal activity, and shall not associate with any person convicted
       permission of the court or probation officer;                                       of a felony unless granted permission to do so by the probation
  3.   the defendant shall report to the probation officer as directed by the              officer;
       court or probation officer and shall submit a truthful and complete             11. the defendant shall permit a probation officer to visit him or her at
       written report within the first five days of each month;                            any time at home or elsewhere and shall permit confiscation of any
  4.   the defendant shall answer truthfully all inquiries by the probation                contraband observed in plain view by the probation officer;
       officer and follow the instructions of the probation officer;                   12. the defendant shall notify the probation officer within 72 hours of
  5.   the defendant shall support his or her dependents and meet other                    being arrested or questioned by a law enforcement officer;
       family responsibilities;                                                        13. the defendant shall not enter into any agreement to act as an
  6.   the defendant shall work regularly at a lawful occupation unless                    informer or a special agent of a law enforcement agency without the
       excused by the probation officer for schooling, training, or other                  permission of the court;
       acceptable reasons;                                                             14. as directed by the probation officer, the defendant shall notify third
  7.   the defendant shall notify the probation officer at least 10 days prior to          parties of risks that may be occasioned by the defendant’s criminal
       any change in residence or employment;                                              record or personal history or characteristics, and shall permit the
  8.   the defendant shall refrain from excessive use of alcohol and shall not             probation officer to make such notifications and to conform the
       purchase, possess, use, distribute, or administer any narcotic or other             defendant’s compliance with such notification requirement;
       controlled substance, or any paraphernalia related to such substances,          15. the defendant shall, upon release from any period of custody, report
       except as prescribed by a physician;                                                to the probation officer within 72 hours;
  9.   the defendant shall not frequent places where controlled substances             16. and, for felony cases only: not possess a firearm, destructive device,
       are illegally sold, used, distributed or administered;                              or any other dangerous weapon.



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                   The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth
             X     below).


         STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are
not applicable for offenses completed prior to April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

         The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in
the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C.
§3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or
the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for
probation 18 U.S.C. §3563(a)(7).

         Payments shall be applied in the following order:

                   1. Special assessments pursuant to 18 U.S.C. §3013;
                   2. Restitution, in this sequence:
                             Private victims (individual and corporate),
                             Providers of compensation to private victims,
                             The United States as victim;
                   3. Fine;
                   4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                   5. Other penalties and costs.

                             SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

         As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, shall be disclosed to the Probation Officer upon request.

        The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

          These conditions are in addition to any other conditions imposed by this judgment.




                                                                                     RETURN

                 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                    to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on

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                                                                                           to
 Defendant delivered on
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                      United States Marshal


                                                                By
            Date                                                      Deputy Marshal




                                                                           CERTIFICATE

                    I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my
                    office, and in my legal custody.
                                                                      Clerk, U.S. District Court


                                                                By
            Filed Date                                                Deputy Clerk




                                                           FOR U.S. PROBATION OFFICE USE ONLY


                   Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2)
                   extend the term of supervision, and/or (3) modify the conditions of supervision.

                              These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

                   (Signed)
                              Defendant                                                                                Date

                              U. S. Probation Officer/Designated Witness                                               Date




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